Case 4:23-cv-00024-JTJ Document 23 Filed 08/30/23 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

ITRIA VENTURES, LLC,

Plaintiff, CV 23-24-GF-JTJ

Vs.
ORDER
MARQUIS CATTLE COMPANY;
CORY SHANNON MARQUIS; and
BECKIE JO MARQUIS,

Defendants.

The Court will conduct a hearing on all pending motions’ at 10:30 a.m. on
September 12, 2023, at the Missouri River Courthouse in Great Falls, Montana.

DATED this 30th day of August, 2023.

we
a

“ ~)
C ZEA ~
4
John Johnston -——

United States Magistrate Judge

' Documents 15 and 18
